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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

____________________________________
                                    :
KINGSLEY B. ANDERSON,               :
                                    :
            Plaintiff,              :
                                    :                Civil Action No. 18-11858 (ES) (MAH)
      v.                            :
                                    :
DAVID B. ROY, et al.,               :                ORDER
                                    :
            Defendants.             :
____________________________________:

        This matter having come before the Court by way of Defendants’ letter, dated August 16,

2018 [D.E. 3], requesting an extension of time for Defendants to respond to the Complaint, and

by way of Plaintiff’s letter, dated August 17, 2018 [D.E. 4], objecting to the Defendants’ request;

        and the Court having considered both parties’ submissions;

        and for good cause shown:

        IT IS on this 21st day of August 2018

        ORDERED that Defendants’ request for an extension of time to respond to the

Complaint is GRANTED; and it is further

        ORDERED that the deadline to respond to the Complaint is extended to September 26,

2018.



                                                     /s Michael A. Hammer_________________
                                                     UNITED STATES MAGISTRATE JUDGE
